Case 2:01-CV-02069-BBD-tmp Document 585 Filed 06/03/05 Page 1 of 6 Page|D 991
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IN THE UNITED STATES DISTRICT COURW
FOR THE WESTERN DISTRICT OF TENNES§§EEJH _3 PH |2: 143

WESTERN DIVISION
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MEMPHIS CENTER FOR INDEPENDENT LIVING,
Plaintiff,
v. Case No. 0]-2069 D
RICHARD AND MILTON GRANT CO., et al.,
Defendants,
and
UNITED STATES OF AMERICA,
Plaintiff-Intervenor,
v.
RICHARD AND MILTON GRANT CO., et al.,

Defendants.
Defendant/Cou.nter-Plaintiff.

 

ORDER DENYING AS MOOT PLAINTIFF’S MOTION FOR RECONSIDERATION OF
THE ORDER GRANTING DEFENDANTS’ MOTION TO STAY PROCEEDINGS
PENDING INTERLOCUTORY APPEAL (dkt. # 53])

 

Before the Court is the motion of the United States (“Plaintiff”) for reconsideration of the
Order Granting Defendants’ Motion to Stay Proeeedings Pending Interlocutory Appeal. On
November 4, 2004, the United States Court of Appeals for the Sixth Circuit denied Defendants’

petition for permission to appea]. The matter is, therefore, no longer stayed. Accordingly, the Court

This document entered on the docket shee;irl co§p!iance
with Ru!e 58 and]or 79(a) FHCP on

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Case 2:01-CV-02069-BBD-tmp Document 585 Filed 06/03/05 Page 2 of 6 Page|D 992

denies Plaintiff’ s motion for reconsideration as moot.

IT ls so 0RDERED this .=7/$ day ofMay, 2005.

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TNICE B. De{N'ALD
UNT TED sTATEs DISTRICT COURT

 

June 9, 2005 to the parties listed

Notice of Distribution

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ESSEE

 

.1 eanine 1\/1. Worden
U.S. DEPARTN[ENT OF .TUSTICE
950 Pennsylvania Ave.7 NW

Housing & Civil Enforcement Section- G S
Washington, DC 20530

.1 effery A. .1 arratt

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Leo Maurice Bearman

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Theresa L. Kitay
COUGHLIN & KITAY, PC
3091 Holcomb Bridge Rd
Ste. A-1

Norcross, GA 30071

Marcy L. Dodds

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main Street

1\/1emphis7 TN 38103

Margaret R. Barr-Myers

1\/[E1\/[PH[S AREA LEGAL SERVICES, INC.
109 N. Main Street

Ste. 201

1\/1emphis7 TN 38103

Case 2:01-CV-02069-BBD-tmp Document 585 Filed 06/03/05

Robert L. Moore

HEATON & MOORE, P.C.
100 N. Main St.

Ste. 3400

1\/1emphis7 TN 38103

Harriett 1\/1. Halmon

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

David Rodney Scruggs

1\/[E1\/[PH[S AREA LEGAL SERVICES
109 N. Main Street

Ste. 201

1\/1emphis7 TN 38103--501

.1 oel E. Roberts

GRAY ROBINSON, P.A.
301 E. Pine Street

Ste. 1400

Orlando, FL 32802--306

Kevin Kijewski

U.S. DEPARTN[ENT OF .TUSTICE
950 Pennsylvania Ave.7 N. W.

Housing and Civil Enforcement Section
Washington, DC 20530

Susan Buckingham Reilly

U.S. DEPARTN[ENT OF .TUSTICE
950 Pennsylvania Ave.7 N.W.

Housing and Civil Enforcement Section
Washington, DC 20530

DaWn Davis Carson
HEATON & MOORE, P.C.
100 N. Main St.

Ste. 3400

1\/1emphis7 TN 38103

.1 effrey D. Keiner

GRAY ROBINSON, P.A.
301 E. Pine Street

Ste. 1400

Orlando, FL 32802--306

Page 4 of 6 Page|D 994

Case 2:01-CV-02069-BBD-tmp Document 585 Filed 06/03/05 Page 5 of 6 Page|D 995

.1 ohn S. Richbourg
SISKIND & SUSSER
5400 Poplar Ave.

Ste. 300

1\/1emphis7 TN 38117

Webb A. Brewer

1\/[E1\/[PH[S AREA LEGAL SERVICES, INC.
109 N. Main Street

Ste. 201

1\/1emphis7 TN 38103

Stephen H. Biller

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

1\/1emphis7 TN 38120

Thomas .1. Keary

U.S. DEPARTN[ENT OF .TUSTICE

950 Pennsylvania Ave.7 NW

Housing & Civil Enforcement Section- G S
Washington, DC 20530

William M. Jeter

LAW OFFICE OF WILLIAM .TETER
35 Union Ave.

Ste. 300

1\/1emphis7 TN 38103

Warren D. McWhirter
McWH[RTER WYATT & ELDER
73 Union Ave.

1\/1emphis7 TN 38103

Deborah A. Gitin

U.S. DEPARTN[ENT OF .TUSTICE

950 Pennsylvania Ave.7 NW

Housing & Civil Enforcement Section- G S
Washington, DC 20530

Gary A. Vanasek

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Case 2:01-CV-02069-BBD-tmp Document 585 Filed 06/03/05 Page 6 of 6 Page|D 996

.1 ohn 1. Houseal

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Stephen W. Vescovo

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Honorable Bernice Donald
US DISTRICT COURT

